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                  Exhibit BB
                 Case 1:22-cr-00240-AKH Document 168-30 Filed 03/22/24 Page 2 of 2


     From: Tomita, Willi.am
     Sent: Tuesday, January 13, 200912:51 AM
     .,..o: Hwang, Bill
        ,c: Park, Raymond
     Subject: RE: BOC

     Sounds good--Thanks.

     -Original Message­
     From: Hwang, Bill
     Sent: Tuesday, January 13, 200912:51 AM
     To: Tomita, William
     Subject: Re: BOC

     Sure. Don't worry even if it happens again.

     - Original Message -
     From: Tomita, William
     To: Hwang, Bill; Park, Raymond
     Sent: Tue Jan 13 00:48:20 2009
     Subject: RE: BOC

    OK we will do so. If for some reason it ticks down again like yesterday's PM session it may be difficult to com plete the full
    size but will watch it;closely so as to avoid that best possible.

    --Original Message--
    From: Hwang, Bill
    Sent: Tuesday, January 13, 2009 12:46 AM
    To: Tomita, William� Park, Raymond
    Subject: Re: BOC

    .,erfect. Don't finish,the short selling too early. Short steadily until the end pis.

    --.- Original Message --
    From: Tomita, William
    To: Hwang, Bill; Park, Raymond
    Sent: Tue Jan 13 00.:43:51 2009
    Subject: RE: BOC

    Understood. We will short the remaining aprox $13.4 mm USO balance in the PM session.

    This will bring us to an aprox total short of $134.2 mrn USD (550,226,000 shs).

    --Original Message-
    From: Hwang, Bill
    Sent: Tuesday, January 13, 200912:41 AM
    To: Tomita, William; Park, Raymond
    Subject: Re: BOC

    I changed my mind.

   Short remainder in the PM pis.

   - Original Message -
   From: Tomita, William
   To: Park, Raymond; Hwang, Bill
   Sent: Mon Jan 12 23:34:13 2009
   Subject: RE: BOC

   AM session just close,d. Total shorted today: $28.7 mm.                                                             GOVERNMENT
                                                                                                                         EXHIBIT
   Total size of short including today's new short is: $120.8 mm (499,226,000 shs).
                                                                                                                          2757
                                                                                                                          22 Cr. 240 (AKH)




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